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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 KENNETH LESTER,
                                                      Civil Action No.: 1:21-cv-110
                   Plaintiff,

         vs.

 LINCOLN NATIONAL CORPORATION,

                   Defendant.


                                            COMPLAINT

        AND NOW, comes the Plaintiff, Kenneth Lester, by and through his counsel, David A.

Martin, Esquire and the law firm of Robert Peirce & Associates, P.C., and files the within

Complaint to recover benefits due under a policy of disability insurance issued by the Defendant,

Lincoln National Corporation, and to recover for the Defendant’s bad faith denial of benefits.

                                  JURISDICTION AND VENUE

        1.        This is an action brought pursuant to section 502(a), (e)(1) and (f) of ERISA 29

U.S.C. §§1132(a), (e)(1) and (f). This Court has subject matter jurisdiction pursuant to 29 U.S.C.

§1132(e)(1), 28 U.S.C. §1331 and 28 U.S.C. §1367(a). Under §502(f) of ERISA, 29 U.S.C.

§1132(f), the Court has jurisdiction without respect to the amount in controversy or the citizenship

of the parties.

        2.        Venue is properly laid in this District pursuant to 28 U.S.C. §1391(a), as the

Plaintiff resides in this District, became disabled in this District, was issued the subject insurance

policy in this District, and the Defendant is subject to jurisdiction in this District.
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                                            PARTIES

        1.      Plaintiff Kenneth Lester is an adult individual residing at 128 Zachary Lane,

Titusville, Warren County, Pennsylvania, 16351.

        2.      Defendant Lincoln National Corporation (hereinafter “Lincoln”) is duly

incorporated at the registered address 150 North Radnor-Chester Road, Radnor, Delaware County,

PA 19087.

        3.      Lincoln is responsible for managing claims for Long Term Disability Benefits

under Highmark Inc.’s Long Term disability Policy, including Mr. Kenneth Lester’s claim.

                                             FACTS

        4.      The Plaintiff holds Long Term Disability Benefits under a Highmark Long Term

Disability Policy (hereinafter, the “Policy”). The Number for this Policy is GF3-830-510001-01.

        5.      The monthly benefit in the event that Long Term Disability benefits was necessary

under this Policy was 60.00% of Basic Monthly Earnings not to exceed a Maximum Monthly

Benefit of $10,000.00 less Other Income Benefits and Other Income Earnings.

        6.      On or about November 6, 2019, Mr. Lester completed his last day of work at

Wabtec Corporation.

        7.      On or about November 6, 2019, Mr. Lester submitted a disability claim for

congestive heart failure with reduced systolic function, degenerative disc disease of the lumbar

spine, atrial fibrillation, and insomnia.

        8.      Mr. Lester was awarded disability benefits, which began on May 6, 2020 and

continued until December 29, 2020.
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       9.      On December 30, 2020, Lincoln denied Mr. Lester continued long-term disability

benefits beyond December 29, 2020 on the grounds that Mr. Lester did not meet the definition of

“disabled” under the Policy.

       10.     Eligibility for continued Long-Term Disability benefits under the Policy reads, in

relevant part, that “if the Covered Person is eligible for the 24 Month Own Occupation benefit,”

“Disability” or “Disabled” means that during the “Elimination period and the next 24 months of

Disability the Covered Person, as a result of Injury or Sickness, is unable to perform the Material

and Substantial Duties of his Own Occupation; and thereafter, the Covered Person is unable to

perform, with reasonable continuity, the Material and Substantial Duties of Any Occupation.”

       11.     Mr. Lester requested appealed Lincoln’s decision to end long-term benefits on June

18, 2021. In support thereof, Mr. Lester offered the following:

               a.     Medical documentation from Allegheny Health Network
                      Saint Vincent Hospital;

               b.     Medical documentation from Dr. Jeffrey Buetikofer from
                      June 1, 2019-March 10, 2021;

               c.     Medical documentation from Memorial Satilla Health;

               d.     Medical documentation from Dr. John Balmer from January
                      3, 2018-March 10, 2021;

               e.     Imaging of Kenneth Lester’s lumbar spine dated August 31,
                      2018;

               f.     Medical documentation from Tri-State Pain Institute, Dr.
                      Jung-Woo and Dr. Joseph Thomas from June 11, 2020-July
                      1, 2021;

               g.     Imaging from Titusville Area Hospital dated March 11,
                      2020;

               h.     Remote device checks for the following dates: March 24,
                      2019, August 25, 2019, August 30, 2019, April 10, 2020,
                      June 8, 2020, and September 7, 2020;
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               i.      An emergency room visit dated March 10, 2021;

               j.      Hip and pelvis imaging dated May 24, 2021;

               k.      Documentation for a patient visit on June 9, 2021;

               l.      An emergency room visit dated for November 12, 2020;

               m.      Medical documentation from Titus Area Hospital for a series
                       of visits in 2018; and

               n.      An operative note for a colonoscopy dated March 11, 2020.

       12.     Defendant Lincoln began an investigation into Plaintiff’s medical records to

determine whether Plaintiff satisfied the Policy requirements.

       13.     Defendant reviewed the submitted materials as a part of its investigation.

       14.     On December 16, 2021, Lincoln upheld its initial determination that Mr. Lester was

not entitled to disability benefits. See Exhibit 2, attached hereto.

       15.     Lincoln upheld its initial decision on the grounds that Mr. Lester did not meet the

definition of “Disabled” under the Policy, despite medical documentation to the contrary.

       16.     At this time, Mr. Lester has exhausted all of his administrative appeals.

       17.     Mr. Lester now timely brings this action forward as of right pursuant to § 502(a) of

the Employee Retirement Income Security Act of 1974.

                                              COUNT I

                                            ERISA
                    Claim for Benefits Under the Plan- 29 USC 1132(a)(1)(B)

       18.     Plaintiff incorporates all preceding paragraphs herein as though fully set forth at

length herein, and further alleges as follows.

       19.     The Policy provides the Plaintiff is entitled to Long Term Disability coverage based

upon his physical disability as described above.
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       20.     Plaintiff has established that he is “Disabled” within the meaning of the Policy and

is entitled to continued Long-Term Disability Benefits.

       21.     Defendant’s denial of Long-Term Disability Benefits constitutes denial of benefits

governed by ERISA,.

       22.     Plaintiff is entitled to payment of Long-Term Disability Benefits under the Policy

because his physical condition prohibits him from substantially and materially perform the duties

of his occupation, or any occupation.

       WHEREFORE, the Plaintiff demands judgment in his favor and against the Defendant in

an amount in excess of the jurisdictional limits, plus costs of suit, plus pre- and post-judgment

interest, plus attorneys’ fees and costs.

PLAINTIFF DEMANDS A TRIAL BY JURY.

                                                     Respectfully submitted,

                                                     ROBERT PEIRCE & ASSOCIATES

                                                     By:/s/ David A. Martin
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